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EASTERN DISTRICT: We
COMPLAINT D
(for filers who are prisoners withoutaaeyalby | P 2 yy

UNITED STATES DISTRICT CORA OF COURT
EASTERN DISTRICT OF WISCONSIN

LT

(Full name of plaintiff(s))

Some LaskoviGh

 

 

Vv. Case Number:

20-C-0886

(to be supplied by Clerk of Court)

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oe Sara\y Kra \s, Raasorol Chek Oh hd.

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(Full name of defendant(s))

 

 
 
   

 

 

A. PARTIES
1. Plaintiff is a citizen of \WiSconsw , and is located at
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oOo Counsgbak AM ONT OC, \\ ‘S
ast of prison or jail)

(If more than one plaintiff is filing, use another piece of paper.)

, \ . Qe \
oF
. (Name)
is (if a person or private corporation) a citizen of \\iSCOMNSMN

  

2, Defendant DQ \ .

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Complaint ~ 1

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(State, if known)

and (if a person) resides at . 18 a wo 5 4024
(Address, if known)

and @ the defendant harmed you while doing the defendant's job)

worked for AVOID \NTotada rods col Provider

(Employer’s name and address, if known)

(If you need to list more defendants, use another piece of paper.) — S 2Q Attached

B.  SIATEMENT OF CLAM WA

   

On the space provided on the following pages, tell:
1 Who violated your rights;

2 What each defendant did;

3. When they did it;

4 Where it happened; and

5 aN es the hod ,if yoy eM

    

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I am suing for a violation of federal law under 28 U.S.C. § 1331.
OR

LC] I am suing under state law. The state citizenship of the plaintiff(s) is (are)
. different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$
D. RELIEF WANTED
Describe what you want the Court to do if you win your lawsuit. Examples may
include an award of money or an order telling defendants to do something or to
stop doing something.
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E. JURY DEMAND

 

 

I declare under penalty of perjury that the foregoing is true and correct.

Complaint signed this Eth day of __< ) ia 2. 20

Respectfully Submitted,

 

joes

eSS .

Toren , OL, <339 ie , ;
(Mailing Address L Plaintiff) 4S. SOSO

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE

FULL FILE EE
I DO request that I be allowed to file this complaint without paying the filing fee.

I have completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint.

I DO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

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